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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

]N RE: CATHODE RAY TUBE (CRT)
ANTI'I`RUST LITIGATION

 

THIS DOCUMENT RELATES TO:

lndividual Case No. 13-cv-2171 (SC)

DELL ]NC. and DELL PRODUCTS L.P.,
Plaintiffs,

v.

HITACHI, LTD., ET AL.,

Defendants.

Master File No. 3:07-cv-5944 SC

MDLNo. 1917

 

 

 

 

 

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Plaintiffs Dell Inc. and Dell Products L.P. (collectively, “Dell”) and Defendants Mitsubishi
Electric Corporation, Mitsubishi Electric US, Inc., and Mitsubishi Electric Visual Solutions
America, lnc. (collectively, “Mitsubishi Electric”), by and through undersigned counsel, hereby
stipulate as follows: '

WHEREAS, on October 27, 2015, Dell and Mitsubishi Electric filed a stipulation with the
Court seeking dismissal of Dell’s claims against Mitsubishi Electric in this action (MDL Dkt. No.
4148);

WHEREAS, at the time of this stipulation, Mitsubishi Electric has flled, or has joined,
certain summary judgment motions pending against Dell;

WHEREAS, in light of the stipulated dismissal of Dell’s causes of action against Mitsubishi
Electric, Mitsubishi Electric seeks to withdraw these motions, or seeks to withdraw its joinder to
these motions, as they pertain to Dell; and

WHEREAS, Mitsubishi Electric does not seek to withdraw these motions as they pertain to
any other parties, nor does this stipulation affect motions brought by or joined by any other
defendant;

IT IS HEREBY STIPULATED AND AGREED by and between counsel for Dell and
Mitsubishi Electric, subject to the concurrence of the Court, that:

1. Mitsubishi Electric withdraws the following motions, or its joinder in the following
motions, as to-and only as to-_Dell:

a) Motion for Partial Summary Judgment for Lack of Standing as to Direct Action
Plaintiffs’ Sherman Act Damage Claims Based on CRT Product Purchases from`
Sanyo (MDL Dkt. No. 2983);

b) Motion for Summary Judgment Based Upon Plaintiffs’ Failure to Distinguish
Between Actionable and Non-Actionable Damages Under FTAIA (MDL Dkt. No.
3008);

c) Motion for Partial Summary Judgment on FTAIA Grounds (MDL Dkt. No.
3032);

d) Motion for Summary Judgment Based Upon Absence of Evidence of Liability
(MDL Dkt. No. 3037);

e) Motion for Partial Summary Judgment against Dell and Sharp Plaintiffs on
Statute of Limitations Grounds (MDL Dkt. No. 3044);

f) Domestic Mitsubishi Electric Entities’ Motion for Summary Judgment (MDL

Dkt. No. 3048);

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g) Motion for Partial Summary Judgment on Withdrawal Grounds (ECF No. 3086);
h) Joint Notice of Motion and Motion for Summary Judgment Based Upon
Plaintiffs’ Foreign Transactions Barred by the FTAIA (MDL Dkt. No. 3003); and
i) Motion to Exclude Certain Expert Testimony of Professor Kenneth Elzinga (MDL
Dkt. No. 3_174).

2. Each of the above-referenced motions will remain pending as to other Plaintiffs’
claims to which they are directed and shall remain pending as to Dell insofar as the motions have
been made by or joined by other Defendants.

3. The undersigned parties jointly and respectfully request that the Court enter this

Stipulation as an order.

PURSUANT TO STIPULATION, IT IS SO ORDERED.
Dated: \|1`*~1|.{

 

 

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Unlted States istn`ct Judge

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Dated: October 30, 2015 Respectfully Submitted,

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By: /s/Michael T. Brody
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Mitsubishi Electric & Electronics USA, Inc.

Pursuant to General Order No. 45, § X-B, the filer attests that concurrence in the filing of this

document has been obtained from each of the above signatories.

 

 

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